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                 8
                                            UNITED STATES DISTRICT COURT
                 9
                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                10
                11
                12     FAMOUS BIRTHDAYS, LLC, a                  Case No. 2:24-cv-08364-AS
                       California limited liability company,
                13                                               DECLARATION OF KEVIN
                                    Plaintiff                    OSTROWSKI IN SUPPORT OF
                14
                                                                 MOTION FOR AN ORDER
                               v.
                15                                               ISSUING A PRELIMINARY
                16     PASSES, INC., a Delaware                  INJUNCTION
                       corporation; and LUCY GUO, an
                17                                               [Filed Concurrently with Notice of
                       individual,
                                                                 Motion and Memorandum of Points
                18                                               and Authorities; Declarations of Evan
                                    Defendants
                19                                               Britton and Christopher D. Beatty;
                                                                 and [Proposed] Order]
                20
                21                                               Date: November 21, 2024
                                                                 Time: 10:00 a.m.
                22                                               Courtroom: 540
                23                                               Assigned for All Purposes to
                24                                               Magistrate Judge Alka Sagar:

                25                                               Action Filed: September 27, 2024
                                                                 Trial Date:   None Set
                26
                27            REDACTED VERSION OF DOCUMENT PROPOSED TO BE FILED
                28            UNDER SEAL


                         DECLARATION OF KEVIN OSTROWSKI IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                 1      DECLARATION OF KEVIN OSTROWSKI IN SUPPORT OF MOTION
                 2                         FOR PRELIMINARY INJUNCTION
                 3            I, Kevin Ostrowski, declare as follows:
                 4            1.    I am Chief Technology Officer (“CTO”) of Plaintiff Famous
                 5     Birthdays LLC (“Famous Birthdays”). I have personal knowledge of the facts
                 6     set forth herein, and if called as a witness, I could and would competently testify
                 7     to all of said facts. I make this declaration in support of Plaintiff Famous
                 8     Birthdays’ Motion for an Order Issuing a Preliminary Injunction.
                 9            2.    I have over fifteen years of experience as a software engineer. My
                10     roles at various companies have included application engineer, software
                11     engineer, systems administrator and developer, lead architect, director, and now
                12     CTO.
                13            3.    I have been the CTO for Famous Birthdays since September 2015.
                14     In this role, I oversee all aspects of Famous Birthdays’ technology, development,
                15     security and scalability, including all aspects of its public-facing website,
                16     Famous Birthdays, and all aspects of its client-facing website for paying clients,
                17     “Famous Birthdays Pro.”
                18            4.    In my role as CTO, I rewrote the architecture for Famous Birthdays
                19     Pro from the ground up and oversee it. I have also rewritten and oversee its
                20     Application Programming Interface (“API”).
                21            5.    Famous Birthdays’ computer systems support its website, which is
                22     used in all 50 states in the U.S., and internationally.
                23     Overview of Famous Birthdays and Famous Birthdays Pro
                24            6.    Famous Birthdays’ core offering is its publicly accessible website,
                25     which features bios of celebrities and influencers, written by Famous Birthdays
                26     staff. The public website contains a robust Terms of Service, which emphasizes
                27     that the bios are the intellectual property of Famous Birthdays.
                28            7.    Famous Birthdays features over 100,000 celebrities and influencers
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                         DECLARATION OF KEVIN OSTROWSKI IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                 1     on its website, each with a short, independently written bio that provides key
                 2     details about the profiled individual in an entertaining and snappy format.
                 3            8.    Famous Birthdays also tracks the web traffic for each profiled
                 4     celebrity and influencer, which provides information such as which celebrities
                 5     and influencers are being searched for the most, which are trending, and which
                 6     are cooling off.
                 7            9.    This data is valuable to companies, including because companies
                 8     can use the bios to find influencers relevant to their marketing needs.
                 9            10.   To leverage this information, Famous Birthdays offers paying
                10     clients access to a subscription service known as Famous Birthdays Pro. This
                11     service allows these clients access to select portions of Famous Birthdays’ data,
                12     as negotiated for and set forth in the terms of their contract.
                13     Overview Of Limited API Access And Famous Birthdays Pro Login
                14     Credentials Provided To Famous Birthdays Pro Users
                15            11.   Famous Birthdays provides Famous Birthdays Pro customers two
                16     methods to access data provided for in their contractual agreement.
                17            12.   First, customers get access to the paywalled Famous Birthdays Pro
                18     website. Famous Birthdays Pro is a dashboard that allows the customer to
                19     perform searches for celebrities and influencers, and view their bios, as well as
                20     data on their relative web traffic, and historical “rank graphs” showing whether
                21     they are trending upwards in popularity, downwards, or static.
                22            13.   Each Famous Birthdays Pro customer is provided with a username
                23     and password to access the information behind the paywall. Where the customer
                24     is an organization, rather than an individual, Famous Birthdays provides
                25     separate login credentials for each individual at the organization that will use
                26     the platform.
                27            14.   Second, when it has been contractually agreed to (as was the case
                28     with Passes), a Famous Birthdays Pro customer is provided limited access to
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                 1     Famous Birthdays’ API, which is another means to access Famous Birthdays’
                 2     data.
                 3             15.   In this circumstance, a customer is provided specifically curated
                 4     “API calls,” which it can then use to ping Famous Birthdays’ API for data on
                 5     celebrities and influencers, including their relative web traffic and historical
                 6     “rank graphs,” as well as an API token that functions similarly to a login
                 7     password.
                 8             16.   The API and dashboard function similarly, and are both curated to
                 9     technologically limit the accessible data to the same limits set forth in the
                10     customer’s contract with Famous Birthdays.         Thus, if a contract limits a
                11     customer to a certain number of monthly searches of profiles of celebrities and
                12     influencers, both the dashboard and the API calls contain a technical limit that
                13     prevents the customer from exceeding their authorized search limit.
                14             17.   There are also Terms of Service on Famous Birthdays Pro that
                15     further advise customers of the limitations on their use of the platform. A true
                16     and correct copy of the Famous Birthdays Pro Terms of Service is attached
                17     hereto as Exhibit A.
                18     Limited API Access And Famous Birthdays Pro Login Credentials Were
                19     Provided To Defendants
                20             18.   After Famous Birthdays and Passes entered into the Services
                21     Agreement between Famous Birthdays and Passes on or about March 29, 2024
                22     (the “Services Agreement”), Famous Birthdays provided limited API access and
                23     Famous Birthdays Pro login details to Passes.
                24             19.   Three individuals at Passes, Guo and two others, were provided
                25     Famous Birthdays Pro login credentials.
                26             20.   Consistent with the limit set in the Services Agreement, Passes
                27     could only use its login credentials for Famous Birthdays Pro to access the
                28     dashboard and perform 2,500 monthly searches. The dashboard technologically
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                         DECLARATION OF KEVIN OSTROWSKI IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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                 1     prevented Passes from running searches in excess of that amount.
                 2            21.   The API documentation provided to Passes consisted of seven “API
                 3     calls” for Passes to utilize to access the data they had contracted to access. A
                 4     true and correct copy of the API documentation provided to Defendants is
                 5     attached hereto as Exhibit B.
                 6            22.   These seven API calls are limited in their functionality consistent
                 7     with the contractual limitations in the Services Agreement. Thus, Defendants,
                 8     who are contractually limited to 2,500 monthly lookups of historical rank graphs
                 9     for celebrities and influencers, using the API calls assigned to them, can only
                10     perform 2,500 lookups a month. The API calls will not return results beyond
                11     2,500 a month.
                12     Defendants Abused Their Access To Famous Birthdays Pro To Find And
                13     Exploit Famous Birthdays’ Internal API Endpoints
                14            23.   For its own internal use, Famous Birthdays has separate internal
                15     API endpoints, as is common for most websites.
                16            24.   Famous Birthdays’ internal API endpoints include an API call that
                17     allows Famous Birthdays to perform unlimited look-ups of celebrities and
                18     influencers and associated ranking graphs (as compared to the API calls
                19     assigned to Passes with the limit of 2,500).
                20            25.   These separate internal API endpoints were not shared with Passes,
                21     or any Famous Birthdays Pro customers for that matter. They are for use by
                22     Famous Birthdays’ staff only.
                23            26.   To obtain one of these internal API endpoints, Passes accessed the
                24     Famous Birthdays Pro dashboard, using Guo’s login credentials. Once logged
                25     in, a person sophisticated in computer science pulled up Famous Birthdays’
                26     source code, which can only be done by accessing Famous Birthdays’ backend
                27     code or reverse engineering its system.
                28            27.   This person then looked over the various internal API calls used to
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                 1     generate the webpage. This person located the API call for historical rank graph
                 2     data for a given celebrity or influencer. Because this internal API endpoint in
                 3     Famous Birthdays Pro’s source code is not provided to customers, it has no
                 4     limitations on monthly look-ups. A true and correct copy of a screenshot
                 5     showing this internal API call amidst Famous Birthdays Pro’s source code is
                 6     attached hereto as Exhibit C.
                 7            28.   Next, Passes logged into Guo’s Famous Birthdays Pro account,
                 8     creating a session within the Famous Birthdays Pro system on April 14, 2024.
                 9     Once logged in, Passes accessed the Famous Birthdays API by using the API
                10     token Famous Birthdays had provided to it.
                11            29.   But, instead of using one of the API calls provided to Passes
                12     pursuant to the contract, Passes instead used the historical rank graph API call
                13     that it had surreptitiously extracted from the Famous Birthdays source code
                14     while logged into the dashboard. I am familiar with and have reviewed the log
                15     files associated with Passes’ Famous Birthdays Pro account. A true and correct
                16     copy of our Passes API access logs is attached hereto as Exhibit D.
                17            30.   Using this unauthorized API call, Passes, under Guo’s account,
                18     performed 106,124 lookups between April 14 and 20, 2024. A true and correct
                19     copy of Famous Birthdays’ internal dashboard reflecting the over 106,000
                20     lookups by Guo is attached hereto as Exhibit E.
                21            31.   These lookups could not have been performed with the API
                22     documentation provided to Defendants as part of the Services Agreement, as the
                23     calls and endpoints provided therein are subject to technical, code-based
                24     limitations that cap them at 2,500 monthly lookups, nor could they have been
                25     performed through manual searches on Famous Birthdays Pro, which contain
                26     the same limitations.
                27            32.   Moreover, Passes was able to scrape 106,124 of our most popular
                28     bios one-by-one, including the URL names for each such bio, between April 14
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                 1     and 20, 2024. The URL list of our bios, and their relative ranking by traffic, are
                 2     not provided as part of Famous Birthdays Pro, and were not provided in the API
                 3     documentation given to Defendants in connection with the Services Agreement.
                 4            33.   The only way Defendants could have accessed our URL list is by
                 5     seeking to exploit our sitemap.
                 6            34.   Moreover, our Passes API access logs show that Passes pinged our
                 7     internal API for historical rank graph data 103,000 times between April 14 and
                 8     20, 2024, pinging our servers every 2 seconds to scrape a different bio.
                 9            35.   No human could have manually pinged our servers every 2 seconds
                10     to retrieve a different celebrity’s bio over 100,000 times over a six-day period.
                11     The access logs reflect that Passes used an automated script that pretended to be
                12     an authorized human Passes user of Famous Birthdays Pro with permission to
                13     use Passes’ Famous Birthdays API token. That script then used our internal API
                14     endpoint, which was taken from our back-end source code, to perform searches
                15     in excess of the limited 2,500 allowed by the Services Agreement and Passes’
                16     Famous Birthdays Pro login credentials and limited API calls. Passes has then
                17     scraped over 100,000 of our bios using the same script.
                18            I declare under penalty of perjury under the laws of the United States of
                19     America that the foregoing is true and correct.
                20            Executed on this 18th day of October, 2024, at Los Angeles, California.
                21
                22
                23                                                    Kevin Ostrowski
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                         DECLARATION OF KEVIN OSTROWSKI IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
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             1                           INDEX OF EXHIBITS
             2   Exhibit No.   Description                                      Page(s)
             3     A.          Famous Birthdays Pro Terms of Service            9-10
             4     B.          Famous Birthdays Pro API documentation           11-36
                               for Passes
             5
                   C.          Famous Birthdays Pro Source Code Screenshot      37-38
             6
             7     D.          Famous Birthdays' Passes API access logs         39-2100
             8     E.          Famous Birthdays’ Intrnal Dashboard Re           2101-2102
                               Passes' Lookups
             9
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                               EXHIBIT A


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                                                                                  EXHIBIT A

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                              EXHIBIT C


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                              EXHIBIT E


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                                                                                  EXHIBIT E
